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AO 442 (Rev.11/11) ArrestWarrant



                                          UNITED STATES DISTRICT COURT
                                                                            for the

                                                                  District of Columbia

                      United Statesof America
                                 V.
                                                                                       Case: 1:23-mj-00047
                                                                               )




                DAVID WORTH BOWMAN
                                                                                       AssignedTo : Harvey,G. Michael
                                                                               )




                                                                               )




                                                                               )
                                                                                       Assign. Date: 2/27/2023
                                                                               )

                                                                                       Description:ComplaintW/ Arrest Warrant
                                                                               )




                             Defendant


                                                             ARREST WARRANT
To:       Any authorizedlaw enforcementofficer

          YOU ARE COMMANDED to arrestand bring before a United Statesmagistratejudge without unnecessarydelay
(name
    ofperson
           tohearrested)DAVID WORTH BOWMAN
who is accused of an offense or violation based on the following document filed with the court:

a Indictment n Superseding Indictment D Information D Superseding Information IX Complaint
a ProbationViolation Petition                  a SupervisedReleaseViolation Petition                   a Violation Notice          a Order of the Court

This offense is briefly describedas follows:
18 U.S.C. § 1512(c)(2) - Obstructing, Influencing, or Impeding Any Official Proceeding
18 U.S.C. § 1752(a)(1) - Entering and Remaining in a Restricted Building or Grounds,
18 U.S.C. § 1752(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds
40 U.S,C, § 5104(e)(2)(A) - Entering or Remaining on the Floor of a House of Congress, and
40 U.S.C. g 5104(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building


                                                                                              G. Michael             :ii7::eriiagrCEyy '

Date:           02/28/2023                                                                    Harvey                 IF£e;:T=€S8
                                                                                                        Issuing oficer ’s signature


City andstate:                     Washington, D.C.                                       G. MICHAEL FLARVEY, U.S. MAGISTRATE JUDGE
                                                                                                          Printed name and title


                                                                           Return

          This warrant was received on (datej                                          and the person was arrested on (date)          3.6 . ZS
at (city and state)      /Z4L el             AJC=


Date      3'6- 23
                                                                                                           moficer       ’s signature


                                                                                        /Saud    a'UOMU>              frO - Fg \
                                                                                                          Printed name and title
